Case 2:O4-Cv-O2902-.]P|\/|-tmp Document 25 Filed 07/19/05 Page 1 of 2 Page|D 29

 

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:N THE UNITED sTATEs nIsTRIcT coURT
FoR THE wEsTERN DISTRICT or TENNESSEE ,-
wEsTERN nlv:sroN 05‘“”-'9 PH 3’““
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uNI'rEn s'rn'rEs or mRIcA. CLEHK,U.§. DESTR§CT (HBT
WfD O§' }.`f\;, iri/ims

Plaintiff,

v. No. 04-2902 Ml/P
THIRTY NINE THOUSAND DOLLARS

($39,000.00) IN UNITED STATES
CURRENCY, et al.,

Defendants.

 

ORDER RESETTING TRIAL AND PRETRIAL DATES

 

The Court hereby RESETS the trial schedule in this case as

 

 

follows:
l. The non-jury trial in this matter, is set to begin
Tuesdav. October ll, 2005, at 9:30 a.m. in courtroom no.
4.
2. A pretrial conference is set for Mondavl October 3. 2005
at 8:45 a.m.
3. The pretrial order is due by no later than 4:30 p.m. on

Mondav, Sentember 26, 2005.
Absent good cause, the dates established by this order shall

not be extended or modified.

x
IT IS SO ORDERED this {C{ day of July, 2005.

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JON P. MchLLA
UN ED STATES DISTRICT JUDGE

Th|s document entered on the docket sheet |n cojap[iance
with nule 53 and/or 79(a) FHCP on “ 'Os

 

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Honorable Jon McCalla
US DISTRICT COURT

